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                                                                                     FILED
                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS                                 DEC 2 8 2021
                                  SHERMAN DIVISION
                                                                                  CLERK, U.S. DISTRICT COURT
  UNITED STATES OF AMERICA,                                                       EASTERN DIST ICT OF TEXAS

                                                     § CASE NUMBER 4:21-CR-00048-ALM

         v.




  SHANLIN JIN,


                 CONSENT TO ADMINISTRATION OF GUILTY PLEA AND
                              FED. R. CRIM. P. 11 ALLOCUTION
                         BY UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge has informed me of my right to have my plea taken by

  the District Judge, and after discussing the matter with my counsel, I hereby voluntarily agree

  and consent to have United States Magistrate Judge Christine A. Nowak hear the guilty plea and

  make findings as to whether the plea was knowingly and voluntarily entered, and recommend to

  the District Court whether the plea should be accepted. I understand that my guilty plea is subject

  to approval and final acceptance by a United States District Judge and that sentencing will be

  conducted by a United States District Judge.

        In addition, I understand that I have the right to give my plea before the sentencing judge

  or the magistrate judge and have elected to so proceed before the magistrate judge.

        I know that my testimony must be truthful and is under the penalty of perjury.

        I understand my trial rights, including the right to maintain my plea of not guilty, the right

  to remain silent, the right to call witnesses, the right to present evidence in my behalf, the right

  to have a jury trial, the right to counsel or Court-appointed counsel if I cannot afford a lawyer
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  who would represent me at trial, the right to cross-examine witnesses who testify against me, and

  the right not to be forced to testify if I choose not to testify.

        I understand by pleading guilty that I am giving up these rights, except the right of counsel.

  By pleading guilty, I am also giving up certain rights guar nteed to citizens of the United States

  of America. I may also have to forfeit any federal benefits I am now receiving. I understand that,

  if I am not a citizen of the United States of America, giving this plea of guilty may affect my

  immigration status and may lead to deportation.

        By pleading guilty, I am giving up the right to challenge any search or seizure which may

  have involved my person or my property.

        I m also aware that the Court will consult the Sentencing Guidelines in assessing my

  sentence. However, I am also aware that the Court is not bound by these guidelines and that my

  sentence may be greater or less than the recommended guideline range.

        I am also aware that even though I may have received an estimate as to my possible range

  of punishment, it is only an estimate. There may be other factors, such as prior criminal history,

  my role or participation in the crime, the quantity of contraband ttributed to me, or the use of

  weapons that could increase my sentence.

        I am also aware that the Court is not bound by any agreements between the government

  and me.


        I a aking this lea of      own free will. I have not been forced to lead guilty, nor have

  any promises been made to me other than what may be in my plea agreement if I have so entered

  into a plea ag eement with the government.

       I am entering this plea of guilty because I am guilty, and I fully understand the charges

  against me, including the statutoiy minimum and maximum penalties, as well as terms related to
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  supervised release, special assessment(s) and restitution.

        I also understand that if the government is moving for any forfeiture, I have been fully

  informed of the nature of the property to which I am surrendering my right, title, and interest.

        I understand my appeal rights and that such rights may be limited by any plea agreement,

  which might be limited by a waiver provision, which I fully understand. I also understand that

  under no circumstances may I appeal my sentence or attempt to withdraw my plea of guilty if

  my sentence or recommended sentence is greater than what I originally believed or was informed

  by my counsel.


        I understand that only the United States District Judge will determine my sentence.

        If I have entered into a plea agreement, I fully understand the agreement and have no

  reservation or questions surrounding the agreement. I represent that I am not under the influence

  of any substances or medication that might cloud my judgment and that I am fully competent to

  enter a plea before the Court. I understand that before I plead, if I have any questions concerning

  these proceedings, I can freely consult with my lawyer.

        I represent that I am satisfied with the representation provided me.

        I have also signed a Factual Statement and represent that such is true and correct. I have

  reviewed it and there are no material errors in what I have represented to the Court.

        I make these statements above and attest herein under the penalty of perjury.

 Date: December 28, 2021


                                       SHANLIN JIN, Defendant
                                       Printed Name: S                            " K
                                         /I
                                       BaCT Saputo, Defendant s Attorney
                                       Printed Name:
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  UNITED STATES MAGISTRATE JUDGE
